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                                                                    USDC-SDNY
UNITED STATES DISTRICT COURT
                                                                    DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
                                                                    DOC#:
 SAMUEL SMALL,                                                      DATE FILED:

                             Plaintiff,
                                                                      09-CV-1912 (RA)
                        v.
                                                                           ORDER
 NEW YORK CITY DEPARTMENT OF
 CORRECTIONS, et al.,

                             Defendants.



RONNIE ABRAMS, United States District Judge:

         In preparation for Thursday’s proceeding, the parties are directed to meet and confer on all

remaining issues identified in their motions in limine. No later than November 11, 2020 at 12:00 pm,

the parties shall submit a joint letter advising the Court as to which issues remain to be resolved.

         Moreover, during Thursday’s hearing, the parties should be prepared to address each disputed

issue, witness, and exhibit. To do so, the parties should utilize the screen-sharing function on Skype for

Business when necessary, which will allow the parties and the Court to jointly view the exhibits.

SO ORDERED.

Dated:      November 9, 2020
            New York, New York

                                                  RONNIE ABRAMS
                                                  United States District Judge
